                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                     CASE NO. 3:21-CR-233-RJC-DCK *SEALED*

 UNITED STATES OF AMERICA,                              )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )          ORDER
                                                        )
 GREGORY ALLEN LEWIS and                                )
 DAVID LAMAR WOODS,                                     )
                                                        )
                 Defendants.                            )
                                                        )

         THIS MATTER IS BEFORE THE COURT on the Government’s “Motion To Unseal

Bill Of Indictment And Arrest Warrants” (Document No. 16) filed October 27, 2021. This motion

has been referred to the undersigned Magistrate Judge pursuant to 28 U.S.C. § 636(b), and

immediate review is appropriate. Having carefully considered the motion and the record, the

undersigned will grant the motion.

         The Government requests that “the Bill of Indictment and the Arrest Warrants in this case

be unsealed immediately, because there is no longer a need to protect the investigation.”

(Document No. 16, p. 1).

         IT IS, THEREFORE, ORDERED that the Government’s “Motion To Unseal Bill Of

Indictment And Arrest Warrants” (Document No. 16) is GRANTED.



                                        Signed: October 27, 2021




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